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                     EXHIBIT B
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                              UNITED STATED DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

CRICUT, INC., A Delaware corporation,                       ORDER FOR PRO HAC VICE
                                                                ADMISSION OF
                  Plaintiff,                                   SUSAN KENNEDY

v.
                                                              Case No. 2:21-cv-00601-DBB
ENOUGH FOR EVERYONE, INC., a Nevada
corporation, and DESIRÉE TANNER, an
                                                                   Judge David Barlow
individual,

                  Defendants.

          It appearing to the Court that Petitioner meets the pro hac vice admission requirements of

DUCiv R 83-1.1(d), the motion for the admission pro hac vice of Susan Kennedy, of Baker Botts

L.L.P., in the United States District Court, District of Utah in the subject case is GRANTED.

          Dated this _____ day of October, 2021.



                                                       Honorable David Barlow
                                                       United States District Court Judge
4829-1337-9070
